                                    Case 24-11751-LMI
 Fill in this information to identify the case:
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 Debtor 1               Hector Roque
B 10 (Supplement 2) (12/11)           (post publication draft)
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Southern                         Florida
 United States Bankruptcy Court for the: ______________________ District of __________

                        24-11751-LMI
                                                                             (State)
 Case number            ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                   TH MSR Holdings LLC
 Name of creditor: _______________________________________                                                             4
                                                                                           Court claim no. (if known): __________________

 Last 4 digits of any number you use to
 identify the debtor’s account:
                                                           2392
                                                          ____ ____ ____ ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
  No
  Yes. Date of the last notice: ____/____/_____

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                       _________________________________            (3)   $ __________
  4. Filing fees and court costs                                         March 21, 2024
                                                                         _________________________________            (4)
                                                                                                                              $199.00
                                                                                                                            $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
                    Chapter 13 Plan Review*
 11. Other. Specify:____________________________________                 March 7, 2024
                                                                         _________________________________           (11)
                                                                                                                              $300.00
                                                                                                                            $ __________
                    Draft Proof of Claim
 12. Other. Specify:____________________________________                 April 8, 2024
                                                                         _________________________________           (12)
                                                                                                                              $300.00
                                                                                                                            $ __________
                    Draft Proof of Claim 410 A
 13. Other. Specify:____________________________________                 April 16, 2024
                                                                         _________________________________           (13)     $300.00
                                                                                                                            $ __________
                    Draft Motion for Relief
 14. Other. Specify:____________________________________                 March 12, 2024
                                                                         _________________________________           (14)
                                                                                                                              $1,050.00
                                                                                                                            $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
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Debtor 1         Hector Roque
             _______________________________________________________                                            24-11751-LMI
                                                                                            Case number (if known) _____________________________________
             First Name        Middle Name               Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
  x I am the creditor’s authorized agent.
  

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            __________________________________________________
              /S/ Benjamin D. Ladouceur
                  Signature
                                                                                            Date
                                                                                                    09    09    2024
                                                                                                    ____/_____/________




                  Benjamin D. Ladouceur                                                              Attorney Creditor
 Print:           _________________________________________________________                 Title   ___________________________
                  First Name                      Middle Name        Last Name



                   Sokolof Remtulla LLP
 Company          _________________________________________________________



 Address           7087 Grand National Drive , Suite 102
                  _________________________________________________________
                  Number                 Street
                   Orlando                          FL        32819
                  ___________________________________________________
                  City                                               State       ZIP Code



                   561     507     5252                                                             bladouceur@sokrem.com
 Contact phone    (______) _____– _________                                                 Email ________________________




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In Re:                                                     CASE NO.: 24-11751-LMI
Hector Roque                                             CHAPTER 13

      Debtor.
__________________________________/

                               CERTIFICATE OF SERVICE

        I hereby certify that on September 9, 2024, I have served a copy of this Notice and all
attachments to the following by U.S. Mail, postage prepaid, or via filing with the US Bankruptcy
Court's CM ECF system.

Hector Roque, Debtor, 17067 NW 56th CT Opa Locka, FL 33055

Jose A Blanco, Esq., Jose A. Blanco, P.A., Counsel of Debtor, 102 E 49th ST
Hialeah, FL 33013 Email : eservice@blancopa.com

Nancy K. Neidich, Trustee, POB 279806 Miramar, FL 33027, e-mail: e2c8f01@ch13miami.com

Office of the US Trustee , 51 S.W. 1st Ave. Suite 1204 Miami, FL 33130
Email : USTPRegion21.MM.ECF@usdoj.gov


                                            /s/ Benjamin D. Ladouceur
